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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                      )      8:09CR337
                                               )
               Plaintiff,                      )
                                               )      ORDER
v.                                             )
                                               )
DOUGLAS C. HOLLIBAUGH,                         )
                                               )
               Defendant.                      )



         UPON THE ORAL MOTION OF THE GOVERNMENT,

       IT IS ORDERED that the Change of Plea hearing is continued to April 15, 2010
at 2:00 p.m. before Magistrate Judge F.A. Gossett, Courtroom No. 6, Second Floor,
Roman L. Hruska U.S. Courthouse, 111 So. 18th Plaza, Omaha, Nebraska.

       For this defendant, the time between March 25, 2010 and the hearing on the
anticipated plea of guilty is excluded for purposes of computing the limits under the
Speedy Trial Act. See 18 U.S.C. § 3161(h)(1)(I)&(h)(8)(A)(B).

      Since this is a criminal case, the defendant must be present, unless excused by
the Court.

         DATED this 25th day of March, 2010.

                                         BY THE COURT:


                                         s/ F.A. Gossett
                                         United States Magistrate Judge
